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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

IRENE GALLEGOS,

               Plaintiff,

v.                                                             No.: 1:15-cv-01143-MV/KBM

BEHAVIORAL HEALTH SERVICES OF NEW
MEXICO, LLC d/b/a CENTRAL DESERT BEHAVIORAL
HEALTH CENTER; FUNDAMENTAL CLINIC AND
OPERATIONAL SERVICES, LLC; LAWRENCE STORY,
LMSW-IP, LMFT, in his official capacity as Chief Executive
Officer of Central Desert Behavioral Health Center;
DAVID DURHAM, MD; JANET STONE, RN;
and DOES 1-10,

               Defendants.

       AMENDED COMPLAINT FOR MEDICAL NEGLIGENCE,
        HOSPITAL NEGLIGENCE, GENERAL NEGLIGENCE,
      NEGLIGENCE PER SE, BREACH OF ACTUAL AND IMPLIED
     CONTRACT, VICARIOUS LIABILITY AND RES IPSA LOQUITUR
       COMES       NOW        Plaintiff,   Irene   Gallegos,   by   and   through   her   attorneys,

Guebert Bruckner P.C., and in support of her Amended Complaint, states as follows:

                                 PARTIES AND JURISDICTION

       1.      Venue and jurisdiction are proper in the First Judicial District, Santa Fe County,

New Mexico. See NMSA 1978, Section 38-3-1(A), (“[A]ll transitory actions shall be brought in

the county … either the plaintiff or defendant, or any one of them in case there is more than one

of either, resides; or…where the cause of action originated.”).

       2.      Ms. Gallegos is a resident of Sandoval County, New Mexico.

       3.      Behavioral Health Services of New Mexico, LLC d/b/a Central Desert Behavioral

Health Center (“Central Desert”), is a limited liability company, organized under the laws of

Delaware and is the licensed operator of Central Desert.
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         4.    Behavioral Health Services of New Mexico, LLC’s Registered Agent for service

of process is National Corporate Research, Ltd., 850 New Burton Road, Suite 201, Dover, DE

19904.

         5.    This cause of action occurred at Central Desert, located at 239 Elm Street NE,

Albuquerque, NM 87102.

         6.    Central Desert is located in Bernalillo County, New Mexico.

         7.    Central Desert is a health care facility that offers services and programs for the

treatment of behavioral health illness for older adults.

         8.    Upon information and belief, Central Desert is owned and/or operated by

Fundamental Clinical and Operational Services, LLC (“Fundamental”).

         9.    Fundamental is a foreign limited liability company, authorized and registered to

do business in New Mexico.

         10.   Fundamental’s Registered Agent for service of process is National Corporate

Research, located at 1012 Marquez Place, Suite 106B, Santa Fe, New Mexico 87505.

         11.   At all times material hereto, upon information and belief, Lawrence Story,

LMSW-IP, LMFT (“Defendant Story”), was the Chief Executive Officer for Central Desert, and

as such, is responsible for hiring, training and supervising employees, agents, apparent agents or

contractors at the Central Desert.

         12.   Upon information and belief, Defendant Story is a resident of Albuquerque,

Bernalillo County, State of New Mexico.

         13.   At all material times, Behavioral Health, Central Desert, Fundamental and

Defendant Story (collectively the “Corporate Defendants”) provided health care services to men

and women.




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       14.     At all times material hereto and upon information and belief, David Durham, MD

was the resident physician in charge of assessing Ms. Gallegos’ health condition and developing

and implementing an initial treatment plan for Ms. Gallegos as well as continuing to assess

Ms. Gallegos’ ongoing treatment plan, care and well-being.

       15.     Upon information and belief, David Durham, MD is a resident of Albuquerque,

Bernalillo County, State of New Mexico.

       16.     Upon information and belief, David Durham, MD was employed by

Geriatric Associates, P.C., during the time that he provided care to Plaintiff.

       17.     Geriatric Associates, P.C.’s registered agent for service of process is

H. Huson Middleton, III, MD, 8210 Louisiana NE, Suite C, Albuquerque, NM 87113.

       18.     At all times material hereto and upon information and belief, resident nurse

Janet Stone, was the respective employee, agent, apparent agent or contractor acting within the

course and scope of her employment, agency, apparent agency or contract with one or more of

the Corporate Defendants.

       19.     Upon information and belief, Ms. Stone is a resident of Albuquerque,

Bernalillo County, State of New Mexico.

       20.     At all times material hereto and upon information and belief, Ms. Stone was a

nurse in charge of monitoring and caring for Ms. Gallegos.

       21.     Upon information and belief, Ms. Stone was required to report to the Director of

Nursing, who in turn, is required to report to Lawrence Story, CEO.

       22.     Upon information and belief, at times material to this Amended Complaint,

Does 1-10 were the respective employees, agents, apparent agents and/or contractors of one or

more of the Corporate Defendants acting within the course and scope of his or her employment,




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agency, apparent agency and/or contract with one or more of the Corporate Defendants

(“Does 1-10”).

       23.       At times material to this Amended Complaint, all acts and omissions by the

Corporate Defendants, Defendant Stone and Does 1-10 were done within the course and scope of

their employment, agency, apparent agency and/or contract.

       24.       On October 21, 2015, the New Mexico Medical Review Commission confirmed

that Central Desert is not a qualified healthcare provider under the Medical Malpractice Act. See

NMSA 1978, Section 41-5-1, et al.

       25.       On October 21, 2015, the New Mexico Medical Review Commission confirmed

that Fundamental is not a qualified healthcare provider under the Medical Malpractice Act. See

NMSA 1978, Section 41-5-1, et al.

                                     STATEMENT OF FACTS

       26.       Ms. Gallegos incorporates the foregoing allegations as though they were fully set

forth herein. See Rule 1-010C NMRA.

       27.       Ms. Gallegos is 74 years of age with a long history of senile dementia.

       28.       On August 5, 2014, Central Desert admitted Ms. Gallegos to provide continued

care for symptoms associated with a prior diagnosis of Alzheimer’s disease, dementia, and

psychotic disorder with delusions.

       29.       Ms. Gallegos’s medical records from Central Desert indicate that she was a fall

risk due to a history of falls, an elevated fall risk score, use of ambulatory devices, and an altered

mental status.

       30.       Upon information and belief, Defendant Durham certified Ms. Gallegos’ initial

treatment plan and level of care.




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         31.    Dr. Durham’s signature appears on the Treatment Plan Review for Ms. Gallegos.

Despite Ms. Gallegos’ known fall risk, Defendant Durham did not initiate a prevention plan for

Ms. Gallegos.

         32.    Upon information and belief, Defendant Durham was responsible for the

continued care and well-being of Ms. Gallegos, as well as in charge of reassessing her treatment

plan.

         33.    Medical records note that Ms. Gallegos started to show increased signs of

agitation, paranoia, and disruption in her medical condition while at Central Desert.

         34.    Despite these shifts in Ms. Gallegos’s behavior, Defendants Durham, Stone, and

Does 1-10 did nothing to alter her treatment or care.

         35.    On August 12, 2014, Central Desert met with Ms. Gallegos’s daughter.

         36.    Central Desert’s medical records indicate Ms. Gallegos’s medical treatment plan

needed to change by giving Ms. Gallegos full skilled nursing care, however, a new treatment

plan was never implemented.

         37.    Over the next two days, medical records from Central Desert show Ms. Gallegos

was increasingly depressed, guarded, confused, disorganized, and paranoid.

         38.    On August 14, 2014, Ms. Gallegos sustained a serious fall and injured her left

elbow.

         39.    Ms. Gallegos’s fall and substantial changes in behavior were not documented in

the Psychiatric Medical Hospital (“PMH”) notes.

         40.    Defendant Stone was on duty on August 14, 2014, and upon information and

belief, was the nurse in charge of Ms. Gallegos when Ms. Gallegos suffered the fall.




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       41.     On August 15, 2014, Ms. Gallegos’s X-ray results show she suffered significant

injuries to her left elbow, including soft tissue swelling and effusion.

       42.     On August 16, 2014, Ms. Gallegos sustained a second serious fall further injuring

her left arm and shoulder.

       43.     Central Desert’s medical records show Ms. Gallegos was unsteady on her feet and

had already fallen.

       44.     On August 17, 2014, Ms. Gallegos was sent to the Emergency Department, where

it was determined she had suffered a fractured elbow.

       45.     On August 18, 2014, Ms. Gallegos sustained her third serious fall, this time

severely bruising her left hip and causing a subarachnoid hemorrhage in her brain.

       46.     Defendant Stone was also on duty on August 18, 2014, and upon information and

belief, was the nurse in charge of Ms. Gallegos when Ms. Gallegos suffered her third fall.

       47.     Central Desert discussed possible causes of the hemorrhage with Ms. Gallegos’s

daughter, attributing the injury to the falls Ms. Gallegos sustained prior to arriving at

Central Desert.

       48.     Central Desert alleges the cause of Ms. Gallegos’s hemorrhage is the result

of falls prior to arriving at Central Desert and not the result of her three serious falls on

August 14th, 16th, and 18th.

       49.     On August 19, 2014, Central Desert discharged Ms. Gallegos and directed her to

seek medical treatment and care from a facility located across the street.

       50.     Central Desert did not discuss any treatment plan with Ms. Gallegos, her

daughter, or her son in order to manage her rapidly declining medical condition.




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                             COUNT I – MEDICAL NEGLIGENCE
                               (DURHAM, STONE, DOES 1-10)

           51.   Ms. Gallegos incorporates the foregoing allegations as though they were fully set

forth herein. See Rule 1-010C NMRA.

           52.   In caring for Ms. Gallegos, Defendants Durham, Stone, and Does 1-10 had a duty

to possess and apply the knowledge and to use the skill and care ordinarily used by reasonably

well-qualified healthcare providers practicing under similar circumstances, giving due

consideration to the locality involved.

           53.   Defendants Durham, Stone, and Does 1-10 failed to possess or apply the

knowledge, skill or care ordinarily used by reasonably well-qualified healthcare providers

practicing under similar circumstances, giving due consideration to the locality involved.

           54.   Defendants Durham, Stone, and Does 1-10 were aware of Ms. Gallegos’ risk of

falling, but failed to take appropriate action.

           55.   The conduct of Defendants Durham, Stone, and Does 1-10 deviated from

applicable standards in the following ways, but not by way of limitation:

                 a.     Failing to provide Ms. Gallegos with the standard of medical care due to a

patient;

                 b.     Negligently acting outside the scope of expertise and medical specialty

without proper training or certification;

                 c.     Failing to properly acknowledge that Ms. Gallegos was at risk of harm and

wandering;

                 d.     Failing to apply standard accepted medical techniques with regard to

caring and treating patients at risk of harm and wandering;




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               e.      Failing to properly acknowledge, treat and address Ms. Gallegos’s medical

condition;

               f.      Failing to communicate alternatives to treatment; and

               g.      Failing to inform Ms. Gallegos that she was in need of a doctor or other

healthcare provider in order for her to receive proper treatment.

       56.     Defendants Durham, Stone, and Does 1-10 acted willfully, maliciously, wantonly,

and in reckless disregard for the safety and well-being of Ms. Gallegos.

       57.     As a proximate result of the acts or omissions of Defendants Durham, Stone, and

Does 1-10 and their willful, malicious, wanton and reckless misconduct, Ms. Gallegos:

               a.      Suffered from decreased mental activity;

               b.      Suffered a fracture of the left elbow;

               c.      Suffered a large bruise on her left hip;

               d.      Suffered a subarachnoid hemorrhage in her brain;

               e.      Suffered severe bodily injuries;

               f.      Required medical care and associated costs, such as x-rays and visits to

the emergency room, which otherwise would not have been necessary but for the negligence of

Does 1-10;

               g.      Incurred pain and suffering associated with these injuries and the pain and

suffering associated with the indignity of not being adequately cared for by Defendants Durham,

Stone, and Does 1-10 as healthcare providers; and

               h.      Incurred additional costs and expenses related to the care of

Ms. Gallegos’s permanent physical injuries.




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                           COUNT II – HOSPITAL NEGLIGENCE
                  (DEFENDANT STORY AND THE CORPORATE DEFENDANTS)

           58.   Ms. Gallegos incorporates the foregoing allegations as though they were fully set

forth herein. See Rule 1-010C NMRA.

           59.   In caring for Ms. Gallegos, the Corporate Defendants had a duty to use ordinary

care to avoid or prevent what a reasonably prudent hospital would foresee as an unreasonable

risk of injury to another.

           60.   In caring for Ms. Gallegos, the Corporate Defendants had a duty to possess and

apply the knowledge and to use the skill and care ordinarily used in reasonably well-operated

hospitals under similar circumstances, giving due consideration to the locality involved.

           61.   The Corporate Defendants failed to possess or apply the knowledge, skill or care

ordinarily used by reasonably well-operated hospital operating under the same or similar

circumstances, giving due consideration to the locality involved.

           62.   The conduct of the Corporate Defendants deviated from applicable standards in

the following ways, but not by way of limitation:

                 a.     Failing to provide Ms. Gallegos with the standard of medical care due to a

patient;

                 b.     Negligently acting outside the scope of expertise and medical specialty

without proper training or certification;

                 c.     Failing to properly acknowledge that Ms. Gallegos was at risk of harm and

wandering;

                 d.     Failing to apply standard accepted medical techniques with regard to

caring and treating patients at risk of harm and wandering;




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               e.       Failing to properly acknowledge, treat and address Ms. Gallegos’s medical

condition;

               f.       Failing to communicate alternatives to treatment;

               g.       Failing to inform Ms. Gallegos that she was in need of a doctor or other

healthcare provider in order for her to receive proper treatment;

               h.       Failing to provide adequate staff, adequately paid staff, and adequately

trained staff to care for residents such as Ms. Gallegos, with the full knowledge that such

inadequate staffing practices would place patients such as Ms. Gallegos at risk for injuries;

               i.       Negligently hiring, retaining and supervising staff with the full knowledge

that such negligent staffing practices would place patients such as Ms. Gallegos at risk for

injuries;

               j.       Failing to provide and implement proper care plans that would adequately

meet Ms. Gallegos’s needs, including her risk for falling;

               k.       Allowing Ms. Gallegos to remain unattended, unmonitored, and uncared

for despite her known medical condition;

               l.       Failing to provide a safe environment;

               m.       Failing to ensure that Ms. Gallegos received adequate supervision and

care;

               n.       Failing to have adequate and effective policies, procedures, staff and

equipment to adequately supervise and care for Ms. Gallegos;

               o.       Failing to provide services and activities to attain or maintain the highest

practicable physical, mental and psycho-social wellbeing of Ms. Gallegos in accordance with a

written plan of care;




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               p.     Failing to adequately monitor Ms. Gallegos; and

               q.     Failing to prevent harm to Ms. Gallegos from unsafe and hazardous

conditions.

       63.     The Corporate Defendants acted willfully, maliciously, wantonly and in reckless

disregard for the safety and well-being of Ms. Gallegos.

       64.     As a proximate result of the acts or omissions of the Corporate Defendants and

their willful, malicious, wanton and reckless misconduct, Ms. Gallegos sustained damages.

                          COUNT III – GENERAL NEGLIGENCE
                                 (ALL DEFENDANTS)

       65.     Ms. Gallegos incorporates the foregoing allegations as though they were fully set

forth herein. See Rule 1-010C NMRA.

       66.     Defendants were administrators and were responsible for evaluating and

providing care to Ms. Gallegos.

       67.     At all material times, the Defendants owed a duty of care to Ms. Gallegos to act as

a reasonable and prudent administrator in evaluating and providing care to Ms. Gallegos.

       68.     Defendants breached this duty and, therefore, were negligent.

       69.     Defendants were negligent in the following ways, but not by way of limitation:

               a.     Failing to provide adequate services and care;

               b.     Failing to properly administer or direct staff to provide adequate services

and care;

               c.     Failing to establish adequate care planning and/or failing to ensure such

care planning was followed;

               d.     Failing to ensure adequate supervision of Ms. Gallegos;




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               e.      Failing to adequately staff and/or supervise the staff of the Corporate

Defendants; and

               f.      Failing to have adequate policies and procedures in place and/or failing to

follow such policies and procedures.

       70.     Defendants acted willfully, maliciously, wantonly and in reckless disregard for

the safety and well-being of Ms. Gallegos.

       71.     As a proximate result of the acts or omissions of Defendants and their willful,

malicious, wanton and reckless misconduct, Ms. Gallegos sustained damages.

                                 COUNT IV –
             VIOLATIONS OF THE RESIDENT ABUSE AND NEGLECT ACT
                             (ALL DEFENDANTS)

       72.     Ms. Gallegos incorporates the foregoing allegations as though they were fully set

forth herein. See Rule 1-010C NMRA.

       73.     The Resident Abuse and Neglect Act, NMSA 1978, 30-47-3, et seq. (the “Act”),

which applies to, among other things, care facilities, nursing facilities, and hospitals, defines

abuse as “any act or failure to act performed intentionally, knowingly, or recklessly that causes

or is likely to cause harm to a resident, including: (4) medically inappropriate conduct that causes

or is likely to cause physical harm to a resident.”

       74.     Under the Act, “resident” means any person who resides in a care facility or who

receives treatment from a care facility. NMSA 1978, § 30-47-3(I).

       75.     “[C]are facility” means a hospital; skilled nursing facility; intermediate care

facility; care facility for the mentally retarded; psychiatric facility; rehabilitation facility; kidney

disease treatment center; home health agency; ambulatory surgical or outpatient facility; home

for the aged or disabled; group home; adult foster care home; private residence that provides




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personal care, sheltered care or nursing care for one or more persons; a resident’s or care

provider’s home in which personal care, sheltered care or nursing care is provided; adult day care

center; boarding home; adult residential shelter care home; and any other health or resident care

related facility or home, but does not include a care facility located at or performing services for

any correctional facility. NMSA 1978, §30-47-3(B).

           76.   Central Desert is a health care facility as defined under the Act, and Ms. Gallegos

was a resident as defined under the Act.

           77.   “Neglect” under the Act means, the grossly negligent (1) failure to provide any

treatment, service, care, medication or item that is necessary to maintain the health or safety of a

resident; (2) failure to take any reasonable precaution that is necessary to prevent damage to the

health or safety of a resident; or (3) failure to carry out a duty to supervise properly or control the

provision of any treatment, care, good, service, or medication necessary to maintain the health or

safety of residents. NMSA 1978, § 30-47-3(F).

           78.   Defendants and its employees failed to take such reasonable precautions as were

necessary to prevent damage to Ms. Gallegos’ health and safety, including but not limited to:

                 a.     Failing to provide Ms. Gallegos with the standard of medical care due to a

patient;

                 b.     Negligently acting outside the scope of expertise and medical specialty

without proper training or certification;

                 c.     Failing to properly acknowledge that Ms. Gallegos was at risk of harm and

wandering;

                 d.     Failing to apply standard accepted medical techniques with regard to

caring and treating patients at risk of harm and wandering;




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               e.       Failing to properly acknowledge, treat and address Ms. Gallegos’s medical

condition;

               f.       Failing to communicate alternatives to treatment;

               g.       Failing to inform Ms. Gallegos that she was in need of a doctor or other

healthcare provider in order for her to receive proper treatment;

               h.       Failing to provide adequate staff, adequately paid staff, and adequately

trained staff to care for residents such as Ms. Gallegos, with the full knowledge that such

inadequate staffing practices would place patients such as Ms. Gallegos at risk for injuries;

               i.       Negligently hiring, retaining and supervising staff with the full knowledge

that such negligent staffing practices would place patients such as Ms. Gallegos at risk for

injuries;

               j.       Failing to provide and implement proper care plans that would adequately

meet Ms. Gallegos’s needs, including her risk for falling;

               k.       Allowing Ms. Gallegos to remain unattended, unmonitored, and uncared

for despite her known medical condition;

               l.       Failing to provide a safe environment;

               m.       Failing to ensure that Ms. Gallegos received adequate supervision and

care;

               n.       Failing to have adequate and effective policies, procedures, staff and

equipment to adequately supervise and care for Ms. Gallegos;

               o.       Failing to provide services and activities to attain or maintain the highest

practicable physical, mental and psycho-social wellbeing of Ms. Gallegos in accordance with a

written plan of care;




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                p.     Failing to adequately monitor Ms. Gallegos; and

                q.     Failing to prevent harm to Ms. Gallegos from unsafe and hazardous

conditions.

          79.   Defendants and its employees failed to carry out their duties to supervise properly

or control the provision of any care or service necessary to maintain Ms. Gallegos’s health and

safety.

          80.   Defendants acted willfully, maliciously, wantonly and in reckless disregard for

the safety and well-being of Ms. Gallegos.

          81.   As a direct and proximate result of the acts or omissions of Defendants and their

willful, malicious, wanton and reckless misconduct, Ms. Gallegos sustained damages.

                             COUNT V – NEGLIGENCE PER SE
                                 (ALL DEFENDANTS)

          82.   Ms. Gallegos incorporates the foregoing allegations as though they were fully set

forth herein. See Rule 1-010C NMRA.

          83.   At the time of the above referenced event, there were in force and effect certain

statutes and ordinances that were violated by Defendants, including but not limited to:

                a.     NMSA 1978, 30-47-3, et seq.;

                b.     NMSA 1978, § 30-47-3(F)

          84.   These statutes prohibit certain actions and/or create a standard of conduct when

operating, among other things, care facilities, nursing facilities, and hospitals, and caring for

individuals such as Ms. Gallegos. Defendants’ conduct represents an unexcused violation of

these standards.

          85.   Ms. Gallegos belongs to a class of persons to which these statutes were meant to

protect, and the harm or injury is generally of the type these statutes seek to prevent.



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       86.     As a direct and proximate result of the acts or omissions of Defendants and their

willful, malicious, wanton and reckless misconduct, Ms. Gallegos sustained damages.

                           COUNT VI – VICARIOUS LIABILITY
                            (THE CORPORATE DEFENDANTS)

       87.     Ms. Gallegos incorporates the foregoing allegations as though they were fully set

forth herein. See Rule 1-010C NMRA.

       88.     At all material times, Defendant Stone and Does 1-10 were employees, agents,

apparent agents, and/or contractors of one or more of the Corporate Defendants and were

responsible for providing medical care and treatment to Ms. Gallegos.

       89.     At all material times, Defendant Stone and Does 1-10 were acting within the

course and scope of their employment in providing medical care and treatment to Ms. Gallegos.

       90.     The Corporate Defendants were the direct and immediate supervisors of

Defendant Stone and Does 1-10.

       91.     The Corporate Defendants retained the right to control the manner in which

Defendant Stone and Does 1-10 cared for Ms. Gallegos.

       92.     Ms. Gallegos sustained injuries and damages while she was in the care of

Defendant Stone and Does 1-10.

       93.     Accordingly, the Corporate Defendants are liable for the injuries and damages

Ms. Gallegos sustained while under their care and the care of Defendant Stone and Does 1-10.

             COUNT VII – BREACH OF ACTUAL AND IMPLIED CONTRACT
                              (ALL DEFENDANTS)

       94.     Ms. Gallegos incorporates the foregoing allegations as though they were fully set

forth herein. See Rule 1-010C NMRA.




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       95.     Ms. Gallegos contracted with Defendants for health care services. At the time of

Ms. Gallegos’s admission, Defendants were given actual notice of Ms. Gallegos’s physical and

mental condition and infirmities associated therewith, and promised appropriate healthcare.

       96.     Defendants had an actual contract and implied contract with Ms. Gallegos that

required Defendants to provide appropriate healthcare to Ms. Gallegos and reasonably protect

her from injury and neglect.

       97.     As a direct and proximate result of the acts and omissions set forth herein,

Defendants breached their contract with Ms. Gallegos.

       98.     In breaching the contract, Defendants acted willfully, maliciously, wantonly, and

in reckless disregard for the safety and well-being of Ms. Gallegos.

       99.     As a direct and proximate result of this contractual breach by Defendants,

Ms. Gallegos suffered injuries and damages.

       100.    In addition, Ms. Gallegos, or others on her behalf, made payments to Defendants

for services that were promised, but not delivered, not the least of which was the promise for

competent medical care, and a professional standard of care.

                 COUNT VIII– CIRCUMSTANTIAL EVIDENCE OF
               MEDICAL NEGLIGENCE AND GENERAL NEGLIGENCE
                             (ALL DEFENDANTS)

       101.    Ms. Gallegos incorporates the foregoing allegations as though they were fully set

forth herein. See Rule 1-010C NMRA.

       102.    Defendants had a duty to properly manage and control the medical care and

treatment provided to Ms. Gallegos.

       103.    Defendants proximately caused Ms. Gallegos’s injuries and damages, which was

their responsibility to manage and control.




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       104.   Ms. Gallegos’s injuries and damages are of the kind that would not ordinarily

occur in the absence of negligence on the part of Defendants.

       105.   Accordingly, the doctrine of res ipsa loquitur is available as a proper theory of

negligence, causation, and damages and is properly pled herein.

                                          DAMAGES

       106.   Ms. Gallegos incorporates the foregoing allegations as though they were fully set

forth herein. See Rule 1-010C NMRA.

       107.   As a direct and proximate result of the negligent actions of Defendants

enumerated above, Ms. Gallegos seeks the following damages:

              a.      Loss of household services and other pecuniary losses;

              b.      Physical and emotional pain and suffering and other debilitating pain

including temporary and permanent disfigurement and injuries;

              c.      Past and future medical expenses;

              d.      Loss of enjoyment of life;

              e.      Pre-judgment and post-judgment interest;

              f.      Costs of bringing suit;

              g.      Punitive damages; and

              h.      For such other and further relief as the Court deems just and proper.




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                                  PRAYER FOR RELIEF

       WHEREFORE, Ms. Gallegos herein requests judgment against Defendants for her

damages and such other relief as permitted by law against Defendants.


                                            GUEBERT BRUCKNER P.C.



                                            By     /s/ Elizabeth M. Piazza
                                                   Christopher J. DeLara
                                                   David C. Odegard
                                                   Elizabeth M. Piazza
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                                                   epiazza@guebertlaw.com
                                                   Attorneys for Plaintiff




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This is to certify that on this 25th day of
May, 2016, the foregoing Amended
Complaint for Medical Negligence, Hospital
Negligence,        General      Negligence,
Negligence per se, Breach of Actual and
Implied Contract, Vicarious Liability and
Res Ipsa Loquitur was filed electronically
through the CM/ECF system, which caused
the following to be served by electronic
means, as more fully reflected on the Notice
of Electronic Filing:

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